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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 24-cr-182 (TJK)
         v.                                   :
                                              :
LARRY FRELIGH III,                            :
                                              :
                 Defendant.                   :

                       GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Larry Freligh to 10 months of incarceration followed by 12 months of

supervised release. The government also requests that this Court impose 60 hours of community

service, and, consistent with the plea agreement in this case, $500 in restitution.

    I.        Introduction

         The defendant, Larry Freligh, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of Congress’s certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred police officers, and resulted in more than 2.9 million

dollars in losses. 1




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  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
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         On September 4, 2024, Freligh pled guilty to engaging in disruptive and disorderly conduct

in a restricted building or grounds in violation of 18 U.S.C. § 1752(a)(2). The government’s

recommendation is supported by (1) Freligh’s participation in the Capitol riot despite his acute

awareness of his unlawful and disruptive presence gained by witnessing significant violence on

the West Plaza and then scaling a wall to gain access to the Northwest Stairs, (2) his entry into the

Capitol building through the Senate Wing Door at 2:18 p.m., just minutes after the initial breach

of the building, (3) his aggressive physical confrontation with officers in attempting to re-enter the

Capitol after initially exiting, and (4) his decision to forcefully kick an exterior Capitol door after

officers resecured the entrance.

         The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm police, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. Here, the facts and circumstances of

Freligh’s crime support a sentence of 10 months of incarceration followed by 12 months of

supervised release.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF No. 20 (Statement of Offense).




million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.


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               Defendant Freligh’s Role in the January 6, 2021 Attack on the Capitol

       On January 5, 2021, Larry Freligh and his associate William Watson drove from Alabama

to Washington, D.C., arriving on the morning of January 6, 2021. Freligh brought with him a

backpack containing a spare set of clothing and a hunting knife with a blade approximately six

inches long.

       After arriving, Freligh and Watson attended then-President Donald Trump’s rally at the

Ellipse near the White House, where he heard Trump speak about the Congress meeting nearby at

the Capitol that day to certify the results of the 2020 presidential election. Trump told Freligh and

others in the crowd: “If you don’t fight like hell, you’re not going to have a country anymore.”

After the speech concluded, Freligh walked to the Capitol and entered into the restricted perimeter

established around the Capitol, knowing that he was not authorized to be in the area.

       At approximately 1:30 p.m., half an hour after rioters first violently breached the restricted

perimeter at the Peace Circle, Freligh was visible on U.S. Capitol Police (“USCP”) closed-circuit

video (“CCV”) near a police line established on the West Plaza, where rioters fought police for

over an hour to overrun the Capitol’s defenses.




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   Images 1-2: CCV (main image) and open-source footage (inset) showing Freligh near West
                        Plaza police line at approximately 1:30 p.m.

       Immediately north of the West Plaza, scaffolding covered in white sheeting had been

erected to provide seating for the presidential inauguration scheduled to take place later in the

month. The scaffolding was erected over the Northwest Stairs, which provides access from the

West Plaza to the immediate exterior of the first floor of the Capitol building. A small group of

police officers guarded entry into the scaffolding at the base of the staircase, but at 1:48 p.m.,

rioters attacked and overran this line of officers, thereby gaining access to the Northwest Stairs.

Freligh followed other rioters into the scaffolding.




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       Image 3: Freligh moving with crowd toward scaffolding over the Northwest Stairs

       Open-source video shows Freligh briefly enter the scaffolding, then exit and circle around

to the north to the marble wall running alongside the Northwest Stairs. At 2:13 p.m., Freligh and

several others climbed up the wall using a metal bike rack placed against it as a makeshift ladder.




              Image 4: Freligh scaling wall alongside Northwest Stairs at 2:13 p.m.

       At 2:14 p.m., Freligh ascended the remainder of the Northwest Stairs—pausing midway

up the stairs to help other rioters scaling the adjacent wall—and reached the first-floor exterior of

the Capitol building.

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  Image 5: Freligh pausing midway up Northwest Stairs to assist other rioters scaling Capitol
                                      building walls.

       After rioters reached the exterior of the first floor of the building via the Northwest Stairs,

they used wooden planks, a stolen police shield, and other blunt objects to smash the windows to

the left and right of the Senate Wing Door entryway. Rioters then crawled through the smashed-

out windows and kicked open the Senate Wing Door. At approximately 2:13 p.m., the Capitol

building was breached for the first time that day.

       Freligh entered the building through this entryway minutes later, at 2:18 p.m. At the time

he entered, a loud siren continuously rang inside the doorway.




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        Image 6: Freligh approaching the Senate Wing Door at approximately 2:18 p.m.




       Image 7: CCV capturing Freligh entering the Capitol building at approx. 2:18 p.m.

       After entering the building, Freligh turned north and walked toward the center of the

building with other rioters as he filmed on his iPhone and raised his fist in the air.




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Image 8: Freligh walking with other rioters north from the Senate Wing Door toward the center
                                   of the Capitol building.

        Freligh then entered the large, circular room at the center of the Capitol building’s first

floor known as the Crypt, where rioters were amassing against a thin line of USCP officers

blocking access to the remainder of the building. Freligh joined the crowd in chanting and pumping

his fist in the direction of officers.




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                  Images 9-10: Freligh in the Crypt inside the Capitol building

       At approximately 2:25 p.m., the rioters in the Crypt overran this police line, and Freligh

and others were able to push to the other side of the Crypt to reach the Memorial Door staircase.

Freligh climbed this staircase to the second floor of the Capitol building.




                   Image 11: Freligh ascending the Memorial Door Staircase.

       At approximately 2:33 p.m., Freligh entered the Rotunda—located at the middle of the

Capitol on the second floor between the main entrances of the House and Senate Chambers—

where he circled the room, shouted, and pumped his fist in the air, then walked back south out of

the room.




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                    Image 12: Freligh in the Rotunda at approx. 2:33 p.m.

       Just outside the Rotunda was the entrance to the suite of offices dedicated to the Speaker

of the House of Representatives, then Rep. Nancy Pelosi. Freligh entered the Speaker’s suite at

approximately 2:34 p.m.




 Image 13: Footage from the Hulu documentary, “24 Hours: Assault on the Capitol” showing
                       Freligh at the entrance to the Speaker’s suite




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                Image 14: Freligh inside the Speaker’s suite at approx. 2:34 p.m.

       Freligh then returned to the first floor of the Capitol building using the Memorial Door

Stairs, and at 2:36 p.m., Freligh exited the building through the Memorial Doors, for the first time.




Image 15: Freligh initially exiting the Capitol building through the Memorial Doors at 2:36 p.m.

       Shortly after Freligh’s initial exit from the Capitol building, USCP officers positioned

themselves inside the Memorial Door entryway as they guided rioters out of the building and

prevented those ejected from reentering. However, at 2:41 p.m., when police opened the Memorial

Doors to allow a small group of rioters to exit, Freligh used the opportunity to slip inside the doors

as they closed and reenter the building.



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                 Image 16: Freligh reentering the Capitol building at 2:41 p.m.

       Two officers immediately inside the doorway attempted to stop Freligh and force him to

re-exit the building. Rioters about to exit the building were blocked from leaving by Freligh’s

actions and the officers intervening to stop him. As the officers spoke to Freligh and attempted to

block his way, multiple other rioters followed in behind him, and one was able to reenter and move

around the officers preoccupied by Freligh (but was stopped by a third officer shortly afterward).




Image 17: Freligh (circled in red) being stopped by officers attempting to reenter the building as
      another rioter (circled in blue) moved around the officers preoccupied by Freligh.




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       Freligh then began to move past the first two officers, but a third officer shut the interior

doors immediately inside the Memorial Doorway and blocked Freligh from moving further.

Freligh pushed against the interior door held closed by the officer, then when another officer

attempted to pull Freligh away from the door, Freligh leaned his bodyweight against the door to

resist officers’ attempts to move him. During this period, other rioters attempted to reenter the

building and those attempting to exit were blocked from leaving.




Image 18: Freligh leaning against an interior door held closed by an officer as a second officer
                            attempts to pull him toward the exit.

       The officer attempting to remove Freligh then quickly and forcibly pulled Freligh away

from the interior door and ejected him from the building.




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    Image 19: Freligh being forcibly removed from the building at approximately 2:42 p.m.

       Freligh then stood outside the doorway aggressively yelling and gesturing with his middle

finger toward the officer who ejected him, until the officers closed and locked the doors, then

began turning away individuals inside the Capitol attempting to exit through that doorway. At 2:42

p.m., after other rioters walked away from the locked doors, Freligh returned and attempted to

forcefully kick them open.




 Image 23: Freligh attempting to kick Memorial Doors open after being forcibly removed from
                                     the Capitol building.




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                                Freligh’s Interview with the FBI

       On January 19, 2021, Freligh voluntarily spoke to FBI agents about his and Watson’s

activities on January 6, 2021. Freligh admitted to entering the U.S. Capitol building that day.

Freligh blamed the riot on the police defending the Capitol that day, stating that peaceful

demonstrators turned violent when he saw “innocent people getting tear-gassed and shot with

rubber bullets.”

       Freligh also admitted that on January 11, when authorities placed Watson under arrest for

his conduct on January 6, Freligh admitted receiving a text message from Watson that day that

read, “They’re here.” Freligh obtained a key to Watson’s residence from a friend, and on January

13, 2021, Freligh and that friend went to the residence to check on Watson’s cats. On January 15,

they returned to the residence to gather “stuff,” including gaming equipment and a cannister of

mace that Watson had obtained on Capitol grounds and used at one point to threaten police officers

defending the building from rioters. Freligh stated that it was his friend that took the mace, but

Freligh then provided agents with the mace in question.

                                The Charges and Plea Agreement

       On April 11, 2024, the United States charged Freligh by a four-count Information with

violating 18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), and 40

U.S.C. § 5104(e)(2)(G). On September 4, 2024, pursuant to a plea agreement, Freligh pleaded

guilty to Count Two of the Information, charging him with Disorderly and Disruptive Conduct in

a Restricted Building or Ground, in violation of a violation of 18 U.S.C. § 1752(a)(2). By plea

agreement, Defendant agreed to pay $500 in restitution to the Architect of the Capitol.




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      III.      Statutory Penalties

             Freligh now faces a sentencing for violating 18 U.S.C. § 1752(a)(2). As noted by the plea

agreement and the U.S. Probation Office, the defendant faces up to one year of imprisonment, one

year of supervised release, and a fine of up to $100,000. The defendant must also pay restitution

under the terms of his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545

F.3d 1072, 1078-79 (D.C. Cir. 2008).

      IV.       The Sentencing Guidelines and Guidelines Analysis

             As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

             The government agrees with the Sentencing Guidelines calculation set forth in the PSR.

             Base Offense Level (U.S.S.G. §2A2.4(a))                           10
             Specific Offense Characteristics (U.S.S.G. §2A2.4(b)(1)(A))       +3
             Acceptance of Responsibility (USSG §3E1.1(a))                     -2
             Total Adjusted Offense Level                                      11

See PSR at ¶¶ 35-45. Furthermore, this calculation tracks what the parties agreed to in the plea

agreement. Plea Agreement, ¶ 5.

             U.S.S.G. § 4C1.1 provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. As the parties agreed in

the Plea Agreement, Freligh is ineligible for a reduction under § 4C1.1 because he used violence

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or credible threats of violence in connection with the offense.

         The U.S. Probation Office calculated Freligh’s criminal history category to be I. PSR at ¶

48. Accordingly, the U.S. Probation Office calculated Freligh’s total adjusted offense level, after

acceptance, at 11, and his corresponding Guidelines imprisonment range at 8-14 months. PSR at

¶¶ 85. Freligh’s plea agreement contains an agreed-upon Guidelines’ calculation that mirrors the

U.S. Probation Office’s calculation.

         Here, while the Court must consider the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines are a powerful driver of consistency and

fairness.

    V.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. In this case, as described below, the

Section 3553(a) factors weigh in favor of 10 months of incarceration.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Freligh’s



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participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors.

       The two most significant factors in Freligh’s case are the timing, place, and manner of his

approach and entry into the Capitol building and his aggressive physical confrontation with

multiple officers attempting to reenter the Capitol building. First, Freligh’s initial approach

through the West Plaza and up the Northwest Stairs made it abundantly clear not just that he was

not permitted to be present in the area, but just how disruptive his presence was. He joined the

crowd as it overran police line after police line on the Northwest Stairs—which he scaled using an

upturned bike rack—then entered the Capitol building just five minutes after its initial breach,

where blaring alarms, shattered windows and other markers of the riot’s destruction would have

been obvious to him.

       Freligh’s attempted reentry to the building is another significant aggravating factor here.

Immediately prior to his entry, rioters were exiting through the Memorial Doors manned by two

officers. After Freligh forced his way inside the doorway, multiple others followed his lead,

blocking other rioters from exiting the building and causing a third officer to respond to assist in

blocking Freligh. After Freligh was ejected from the building by the officers—as he continued to

yell and gesture aggressively at them—the officers responded to the chaos created by Freligh by

closing the doorway entirely, forcing them to guide rioters to another point of egress within the

building. Not only was Freligh’s conduct brazen confrontational and unlawful, his actions

disrupted officers’ ability to adequately respond to the ongoing crisis inside the Capitol building.

       Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of 10 months of incarceration in this matter.




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            B. Freligh’s History and Characteristics

         Freligh is 28 years old and works as a plumber and pipefitter in Montgomery, Alabama.

He reported no current physical, mental, or substance abuse issues, nor any that were ongoing on

January 6, 2021. Further, unlike many criminal defendants that appear before this Court for

sentencing, Freligh had the benefit of being supported and well cared for throughout his childhood

and adolescence, yet he still chose to join in the violent disruption of Congress’s Joint Session on

Jan. 6, 2021. Accordingly, there are no special considerations here which weigh against a sentence

within his recommended Guidelines range.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20 (“We cannot ever act as if this was simply a

political protest, simply an episode of trespassing in a federal building. What this was an attack on

our democracy itself and an attack on the singular aspect of democracy that makes America

America, and that’s the peaceful transfer of power.”)

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




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       General Deterrence

        The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. There is possibly

no greater factor that this Court must consider.

       Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs in favor of a Guidelines range term of incarceration. Although Freligh admitted to FBI to

entering the Capitol on January 6, was cooperative during the investigation, and accepted

responsibility by pleading guilty, he has expressed no remorse for his conduct and has instead

deflected blame on police, rather than the rioters, for the ensuing violence. This Court should

accordingly be skeptical of an expression of remorse by Freligh for the first time at sentencing.

See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 29-30 (“[The

defendant’s] remorse didn’t come when he left that Capitol. It didn’t come when he went home. It

came when he realized he was in trouble. It came when he realized that large numbers of

Americans and people worldwide were horrified at what happened that day. It came when he

realized that he could go to jail for what he did. And that is when he felt remorse, and that is when

he took responsibility for his actions.”) (statement of Judge Chutkan).



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           E. The Need to Avoid Unwarranted Sentencing Disparities

       The sentencing factors set forth in 18 U.S.C. § 3553(a) also instruct sentencing courts to

consider “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). As the Court is

aware, the government has charged hundreds of individuals for their roles in this one-of-a-kind

assault on the Capitol, ranging from unlawful entry misdemeanors, such as in this case, to assault

on police officers. 2 This Court must sentence Freligh based on his own conduct and relevant

characteristics, but should give substantial weight to the context of his unlawful conduct: his

participation in the January 6 riot.

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       In United States v. Stephen Roy Sexton, 23-cr-228 (TSC), the defendant entered onto the

West Plaza and eventually reached the Lower West Terrace immediately adjacent to the tunnel,

where he remained for multiple hours and entered into the Capitol building through a broken

window immediately adjacent to the tunnel. Inside, Sexton engaged in two discrete acts of property

damage, breaking the leg off a wooden table and briefly attempting to pull a door off its hinges.

Sexton pled guilty to 18 U.S.C. § 1752(a)(2) and a misdemeanor 18 U.S.C. § 1361. The Court


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  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

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calculated Sexton’s guidelines range to be the same as Freligh’s—8 to 14 months—and sentenced

him to 8 months.

       There are multiple aspects of Freligh’s conduct that are more serious than that of Sexton.

First, while Sexton entered into a single conference room that had appeared to have already been

evacuated, Freligh paraded through the center of the building with other rioters, even reaching

then-House Speaker Nancy Pelosi’s office suite. Second, while Sexton did not directly encounter

police officers at the Capitol, Freligh deliberately engaged in a physical confrontation with them

while trying to break back into the Capitol building after exiting. While Sexton pled guilty to an

additional misdemeanor offense, had multiple past convictions, and obstructed justice during the

course of the investigation, Freligh’s much earlier entry through the building at a significant breach

point and his physical confrontation with officers are aggravating factors absent from Sexton,

supporting an equally high or higher sentence of incarceration.

       In United States v. Joshua Knowles, 22-cr-297 (TJK), the defendant entered the Capitol

building through the Senate Wing Door on the west side of the building at 3:13 p.m. and remained

inside for 9 minutes, exiting through the same door at 3:22 p.m. after entering the Crypt. After

exiting, Knowles circled around to the North Door, where he joined other rioters fighting to enter

the building, ultimately retreating after pepper spray and a fire extinguisher were dispersed near

the doorway. Knowles pled guilty to violating 18 U.S.C. § 1752(a)(2), and this Court sentenced

him to seven months of incarceration.

       Knowles’s conduct is comparable to Freligh’s in several respects. Both men entered the

Capitol through the same doorway after witnessing significant violence on the west front, and

notably, both men unsuccessfully attempted to reenter the building a second time. However,

Freligh’s attempted reentry was more violent: he engaged in a deliberate physical struggle with



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three officers and disrupted and frustrated their efforts to restore order. Moreover, Freligh’s

attempted reentry appeared to result in officers having to shut the doorway entirely instead of

continuing to shepherd rioters out of the Capitol building. Thus, despite Knowles’s braggadocios

texts and online statements before and after entering the building, Freligh’s conduct warrants a

higher sentence than the seven months of incarceration Knowles received.

       Finally, Freligh’s conduct is also more serious than the defendant’s conduct in United

States v. Bradshaw, 23-cr-220 (TJK). While Bradshaw may have also had a physical altercation

with police on January 6—grabbing an officer’s baton on the West Plaza—Freligh’s conduct was

both more assaultive and more consequential: it took multiple officers to force Freligh back out of

the doorway through which he was attempting to reenter, and they were forced to close the

doorway entirely after that point (while Freligh continued to yell at the officers, and then kick at

the door once they closed it). Bradshaw received consideration from this Court for appearing to

attempt to quell other rioters at certain points; Freligh, on the other hand, brazenly attempting to

force his way past officers and then continue to aggressively confront them as other rioters exited

the building. While this Court sentenced Bradshaw to four months of incarceration, a sentence of

10 months of incarceration is warranted for Freligh.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.



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Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

    VI.      Restitution

          The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 3 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

          Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Freligh must pay $500 in restitution, which reflects in part the

role Freligh played in the riot on January 6. 4 Plea Agreement at ¶ 12. As the plea agreement


3
 The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
4
 Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
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reflects, the riot at the United States Capitol had caused “approximately $2,923,080.05” in

damages, a figure based on loss estimates supplied by the Architect of the Capitol and other

governmental agencies as of July 2023.” Id. (As noted above in footnote 1, the amount of damages

has since been updated by the Architect of the Capitol, USCP, and MPD.) Freligh’s restitution

payment must be made to the Clerk of the Court, who will forward the payment to the Architect

of the Capitol and other victim entities. See PSR ¶ 12.

   VII.    Fine

       The defendant’s conviction for violating 18 U.S.C. § 1752(a)(2) subject him to a statutory

maximum fine of 100,000. See 18 U.S.C. § 3571(b). In determining whether to impose a fine, the

sentencing court should consider the defendant’s income, earning capacity, and financial

resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines provide

for a fine in all cases, except where the defendant establishes that he is unable to pay and is not

likely to become able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).

       The burden is on the defendant to show present and prospective inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense

to burden a defendant who has apparently concealed assets” to prove that “he has no such assets

and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994).

       Here, the defendant has not shown an inability to pay, thus pursuant to the considerations

outlined in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine. § 5E1.2(a), (e). The

guidelines fine range here is $4,000 to $40,000. U.S.S.G. § 5E1.2(c).




be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

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   VIII. Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 10 months of

incarceration, 12 months of supervised release, 60 hours of community service, and $500 in

restitution. Such a sentence protects the community, promotes respect for the law, and deters future

crime by imposing restrictions on Freligh’s liberty as a consequence of his behavior, while

recognizing his acceptance of responsibility for his crime.




                                              Respectfully submitted,

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